Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 1 of 40 Page ID #:3509
                                                                             1

  1                       UNITED STATES DISTRICT COURT

  2          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

  3           HONORABLE ANDRÉ BIROTTE JR., U.S. DISTRICT JUDGE

  4

  5    MONSTER ENERGY COMPANY, A       )
       DELAWARE CORPORATION,           )
  6                                    )
                       PLAINTIFF,      )
  7                                    )
                 vs.                   ) No. CV 18-1367-AB-AS
  8                                    )
       THUNDER BEAST LLC, A DISTRICT   )
  9    OF COLUMBIA LIMITED LIABILITY   )
       COMPANY AND STEPHEN NORBERG,    )
 10    AN INDIVIDUAL,                  )
                                       )
 11                   DEFENDANTS.      )
       ________________________________)
 12

 13

 14

 15                  REPORTER'S TRANSCRIPT OF PROCEEDINGS

 16                          FRIDAY, AUGUST 30, 2019

 17                                  9:08 A.M.

 18                          LOS ANGELES, CALIFORNIA

 19

 20

 21

 22    ____________________________________________________________

 23                   CHIA MEI JUI, CSR 3287, CCRR, FCRR
                       FEDERAL OFFICIAL COURT REPORTER
 24                    350 WEST FIRST STREET, ROOM 4311
                        LOS ANGELES, CALIFORNIA 90012
 25                          cmjui.csr@gmail.com


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 2 of 40 Page ID #:3510
                                                                             2

  1    APPEARANCES OF COUNSEL:

  2    FOR THE PLAINTIFF:

  3             KNOBBE, MARTENS, OLSON & BEAR, LLP
                BY: MATTHEW S. BELLINGER, ATTORNEY AT LAW
  4             2040 MAIN STREET, 14TH FLOOR
                IRVINE, CALIFORNIA 92614
  5             (949) 760-0404

  6
       FOR THE DEFENDANTS:
  7
                BURKHALTER KESSLER CLEMENT & GEORGE LLP
  8             BY: AMANDA V. DWIGHT, ATTORNEY AT LAW
                2020 MAIN STREET, SUITE 600
  9             IRVINE, CALIFORNIA 92614
                (949) 975-7500
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 3 of 40 Page ID #:3511
                                                                             3

  1           LOS ANGELES, CALIFORNIA; FRIDAY, AUGUST 30, 2019

  2                                  9:08 A.M.

  3                                    - - -

  4                THE CLERK:    Calling Civil Case 18-1367, Monster

  5    Energy Company versus Thunder Beast LLC, et al.

  6                Counsel, please step forward and state your

  7    appearances.

  8                MS. DWIGHT:    Good morning, Your Honor.

  9                Amanda Dwight on behalf of defendant.

 10                THE COURT:    All right.    Good morning.

 11                MR. BELLINGER:    Good morning, Your Honor.

 12                Matt Bellinger with Knobbe Martens on behalf of

 13    plaintiff, Monster Energy.

 14                THE COURT:    Good morning to you as well.

 15                I did issue -- I'm sorry, let me just pull up my

 16    file here.

 17                I did issue a tentative in this case.        Have the

 18    parties had a chance to review the tentative?

 19                We'll start with Mr. Bellinger.

 20                MR. BELLINGER:    Yes, Your Honor.

 21                THE COURT:    All right.

 22                And Miss Dwight?

 23                MS. DWIGHT:    Yes, Your Honor.

 24                THE COURT:    So I've got a couple questions, and

 25    then I just would like to -- to the extent we have -- sort


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 4 of 40 Page ID #:3512
                                                                             4

  1    of, have a -- what we used to call in my old days as a

  2    criminal defense lawyer sort of a "come to Jesus"

  3    conversation with respect to this case.

  4                So, Mr. Bellinger, why don't you step to the

  5    lectern, and we'll start with you.

  6                So I guess I'll just be direct.       What's really

  7    going on in this trial?      And, specifically, I have real

  8    concerns, to be honest, of whether or not should the Court

  9    contemplate sua sponte granting a motion for summary

 10    judgment on behalf of the defendant because I'm not

 11    convinced there is a likelihood of confusion and, at least,

 12    based on what I have seen, there may be a legitimate fair

 13    use defense.

 14                And I am just trying to understand what's really

 15    going on with this case.      And maybe you are not in a

 16    position to tell me at this time, but we're getting close to

 17    trial.   We have a trial date in January of next year.

 18                You have done your discovery, and I am just

 19    trying -- as I look at the photographs are we really

 20    supposed to believe that people are confused by this

 21    Thunder Beast root beer, thinking that it might be one of

 22    the Monster brands and this notion that "Fight Monster"

 23    somehow is a spin-off, if you will, of the Monster -- I just

 24    have a hard time, you know -- when I am looking at this, I

 25    am like what is this really about?


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 5 of 40 Page ID #:3513
                                                                             5

  1                MR. BELLINGER:    Yes, Your Honor.

  2                So in 2002, over a decade before defendant

  3    existed, Monster launched its Monster line of energy drinks

  4    and since that time has continuously used the

  5    "Monster Energy" mark, as well as a family of "Monster"

  6    marks, in connection with its beverage products.

  7                At the time Monster launched its original Monster

  8    energy drink in 2002, it also used "Unleash the Beast" on

  9    the container of that drink and since that time has also

 10    expanded to adopt a family of "Beast" marks.

 11                THE COURT:    Right.   No.   I get all that.     I have

 12    read the papers.     I mean, I got young kids.       I know what

 13    Monster is about.

 14                But, I mean, when I look at the papers and just

 15    looking at the two drinks here, is there really a likelihood

 16    of confusion here?

 17                MR. BELLINGER:    We believe there is, Your Honor.

 18                And it started off with defendant only using

 19    "Thunder Beast" on the label.       There was an issue in the

 20    Trademark Office, the cancellation proceeding that Monster

 21    initiated to cancel that -- that registration.

 22                THE COURT:    But you guys then filed this suit

 23    here.   You never got a ruling in those proceedings.

 24    Correct?

 25                MR. BELLINGER:    That is correct.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 6 of 40 Page ID #:3514
                                                                             6

  1                During the course of those proceedings, defendants

  2    decided to add "Fight Monsters" to the label of their

  3    beverages.    And Monster is the only company that owns a

  4    "Monster"-inclusive trademark registration in the U.S. for

  5    soda.

  6                So at that point, when the defendant started using

  7    those two terms together, which is something that Monster

  8    had been doing for well over a decade, selling --

  9                THE COURT:    Let me stop you.

 10                You said when Thunder Beast started using

 11    "Fight" -- those two terms together.         What are the two terms

 12    that you are saying that Monster had been using since 2002?

 13                MR. BELLINGER:    Yes, Your Honor, a

 14    "Beast"-inclusive mark and a "Monster"-inclusive mark

 15    together.

 16                THE COURT:    So you are telling me that -- they

 17    didn't put them together.       I mean, it's "Thunder Beast," and

 18    then they have the, hashtag, "Fight Monsters."          You are

 19    saying that having those in the same vicinity somehow

 20    creates a likelihood of confusion?

 21                MR. BELLINGER:    Yes.   The defendants put the

 22    "Drink Thunder, Fight Monster" mark on their label next to

 23    their "Thunder Beast" mark.       So they are using a

 24    "Monster"-inclusive mark and a "Beast"-inclusive mark on

 25    their label, and they are using them in proximity to each


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 7 of 40 Page ID #:3515
                                                                             7

  1    other.

  2                THE COURT:    Well, is it really in proximity?        I am

  3    just trying to pull up the motion here.         Hold on.

  4                I mean, you've got this "Thunder Beast," and what

  5    I -- I mean, no disrespect intended -- I look at this

  6    "Thunder Beast" in sort of an old Atari-ish type of font,

  7    and then beneath it, "Drink Thunder, Fight Monsters."

  8                Are you saying that they're that closely

  9    juxtaposed that someone might say, "Oh, this is the Monster

 10    energy drink"?

 11                MR. BELLINGER:    Yes.   We think that people viewing

 12    this would think that at least there is an association or

 13    affiliation or that Monster has somehow sponsored or

 14    endorsed the drink because it has a "Monster"-inclusive mark

 15    on it.

 16                And in addition --

 17                THE COURT:    So should all these Halloween

 18    manufacturers next month start to be scared about using the

 19    term "Monster"?

 20                I mean, it just strikes me that Monster is taking

 21    this very aggressive approach of, if you even breathe the

 22    word or think about using the word "Monster," we're going to

 23    come after you.

 24                I mean, again, I just don't see it.        There is no

 25    clause.   There is no "unleash" anything.        There is no -- at


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 8 of 40 Page ID #:3516
                                                                             8

  1    least just from the naked eye, I don't see any similarity.

  2                And I guess related to that, what's the evidence

  3    that there is some likelihood of confusion?

  4                MR. BELLINGER:    So the -- well, I guess with

  5    respect to the Halloween question, here the issue is they've

  6    put it on a beverage, a nonalcoholic beverage that is a

  7    beverage similar to what Monster is selling.

  8                With respect to evidence of confusion, Monster has

  9    developed strong rights in a family of "Monster" marks and

 10    in a family of "Beast" marks, not just "Unleash the Beast,"

 11    but Monster has -- since launching the original Monster

 12    energy drink in 2002, has used other "Beast" marks such as

 13    "Rehab the Beast" --

 14                THE COURT:    "Unleash the Nitro Beast," "Pump the

 15    Beast," I get that.

 16                MR. BELLINGER:    Yes, Your Honor.

 17                So there is a family of marks that Monster is

 18    going to be able to establish that it has used extensively

 19    on beverages and that it has frequently used those "Beast"

 20    marks together with a "Monster" mark on those beverages, and

 21    defendant is doing the same thing and put "Fight Monsters"

 22    on their label with full knowledge of Monster's trademark

 23    rights.

 24                THE COURT:    And how -- walk me through what

 25    evidence do you have of confusion.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 9 of 40 Page ID #:3517
                                                                             9

  1                MR. BELLINGER:    I think the evidence of confusion

  2    is the strength of the "Monster" marks that Monster has

  3    built up and then the fact that the defendant is using these

  4    two marks, which are similar in appearance.

  5                In terms of actual confusion in the marketplace,

  6    not much of this product has been sold.         So there really

  7    hasn't been a meaningful opportunity to go out and find

  8    consumers have been confused.

  9                THE COURT:    I guess that's my point.

 10                I mean -- and I guess it relates to -- and look.

 11    I am going to acknowledge up front I am jumping around just

 12    because -- I am just looking at this case.          We've all got

 13    busy lives.    We all have clients to represent.        I get that.

 14                But, really, you are going to go to trial on this

 15    case with a company that some solo guy who is making root

 16    beer and Monster is so concerned that somehow he is going to

 17    get into the market share and confuse millions of people to

 18    buy this drink?

 19                I mean, you are even acknowledging -- I mean,

 20    there is no -- well, let me ask you.         Let me ask the

 21    question.

 22                Is there any concrete evidence of confusion as it

 23    relates to "Thunder Beast" and your client's drinks?

 24                MR. BELLINGER:    If by "concrete" you mean like an

 25    actual consumer that says, "I've been confused"?


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 10 of 40 Page ID #:3518
                                                                             10

   1               THE COURT:    Right.

   2               MR. BELLINGER:     We haven't found that evidence.

   3   That evidence is usually hard to find and particularly with

   4   inexpensive products like this.        Someone who might be

   5   confused is unlikely to take the time to write a letter or

   6   call the company and make that report.

   7               THE COURT:    Have you made any efforts toward -- I

   8   am just curious -- doing a consumer survey in that regard to

   9   see if anyone is thinking, "Oh, I bought this root beer and

  10   I thought it was Monster, and I come home, and when I look

  11   closely, I realize it's just some guy -- you know, some solo

  12   guy who just likes root beer"?

  13               MR. BELLINGER:     We did not submit a likelihood of

  14   confusion expert report in this case.

  15               We did submit a report regarding secondary meaning

  16   of Monster's mark, you know, what level of purchasers

  17   associate the term "Monster" with its beverages but not a

  18   comparison of the two brands.

  19               THE COURT:    And if this case goes to trial, don't

  20   you have to prove the likelihood of confusion?

  21               MR. BELLINGER:     Yes.   That is the underlying basis

  22   for the infringement claim/unfair competition claim.

  23               THE COURT:    And so what's the evidence?       I mean,

  24   again, I am just trying to figure out -- I mean, we are

  25   going to go to trial in January.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 11 of 40 Page ID #:3519
                                                                             11

   1               What's the evidence of likelihood of confusion

   2   here?

   3               MR. BELLINGER:     So the evidence, going through

   4   some of the relevant Sleekcraft factors, would be that

   5   Monster has --

   6         (Reporter clarification.)

   7               MR. BELLINGER:     I'm sorry.

   8               The evidence of confusion going through some of

   9   the pertinent Sleekcraft factors in the case would be the

  10   strength of Monster's marks, its "Monster" family of marks

  11   and "Beast" family of marks; the fact that the parties are

  12   using the marks on closely related, if not identical, goods,

  13   namely, beverages.

  14               THE COURT:    So just beverages.      I mean, it's not

  15   even an energy drink.      It's root beer in a -- what appears

  16   to be a glass container and your drinks that I think, by and

  17   large -- I may be wrong on this -- are usually in aluminum

  18   cans.    Right?

  19               MR. BELLINGER:     Usually in cans, although Monster

  20   has sold some bottles.

  21               THE COURT:    Some bottles.

  22               MR. BELLINGER:     But predominantly cans.

  23               THE COURT:    Okay.   Go ahead.    Just walk me through

  24   this.    I am just trying to understand.

  25               MR. BELLINGER:     Sure.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 12 of 40 Page ID #:3520
                                                                             12

   1               We believe the marks are similar.        The

   2   "Thunder Beast" mark could be -- is likely to be confused

   3   with Monster's "Beast" marks, for example, you know,

   4   "Unleash the Beast," "Pump up the Beast," "Rehab the

   5   Beast" --

   6               THE COURT:    You think that that's going to get

   7   confused with this Thunder Beast American Root Beer?

   8               MR. BELLINGER:     We do, and particularly because

   9   they're using both the "Thunder Beast" mark and they've

  10   added a "Monster" mark on the label.

  11               And Monster uses a variety of "Monster" marks

  12   beyond Monster Energy.       For example, it uses "Monster

  13   Assault" or "Punch Monster."

  14               THE COURT:    Okay.

  15               MR. BELLINGER:     Consumers would be likely to think

  16   that "Fight Monsters" on a beverage is a variant of

  17   Monster's marks.

  18               THE COURT:    Okay.   And so continue.

  19               The next element is evidence -- isn't the next

  20   element evidence of actual confusion?

  21               MR. BELLINGER:     That is one of the elements, and

  22   that can be accorded bearing weight depending on the

  23   circumstances.

  24               Here, the defendant really, as I mentioned before,

  25   has not sold much by way of product.         So there hasn't really


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 13 of 40 Page ID #:3521
                                                                             13

   1   been a meaningful opportunity for actual confusion to occur

   2   in the marketplace.

   3               And the goods, as I mentioned, are also relatively

   4   inexpensive, you know, less than a few dollars for a bottle.

   5   So someone -- even if they were confused, probably not worth

   6   their time and effort to report that.

   7               THE COURT:    Okay.   Please continue.

   8               We're talking about marketing channels used.

   9   That's next.

  10               MR. BELLINGER:     Yes.

  11               So the products are sold through similar marketing

  12   channels, the limited sales that there have been.           They've

  13   been sold in at least one of the same stores.

  14               THE COURT:    I have got to tell you.       I mean, when

  15   I am looking at these Sleekcraft factors, it just seems like

  16   you don't have a lot.      Again, maybe I am missing something.

  17   That's why I wanted to have you here.         I'm like, "What am I

  18   missing here?"

  19               I get it.    You know, look.     I worked at a firm

  20   that represented Mattel, and I get the whole importance of

  21   protecting your mark, but against this Thunder Beast?

  22               I mean, I don't think they look similar.         It's a

  23   company that you have -- at least as you are standing here,

  24   I don't know what evidence you are going to have of any

  25   likelihood of confusion.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 14 of 40 Page ID #:3522
                                                                             14

   1               You really want to put eight in the box and try to

   2   convince them that this Thunder Beast -- I forget the

   3   gentleman's name, this guy from Harvard -- is out there

   4   trying to take the market share?

   5               I mean, it is -- I mean, look.        I get what the

   6   defendant is doing here.       There is a play on words, and

   7   there is this David and Goliath sort of aspect to it.            But I

   8   genuinely think that there are some real issues in the

   9   plaintiff's case and, as evidenced by the tentative, there

  10   may be a fair use defense here.

  11               And so I guess I am saying all this to say -- I

  12   mean, I guess I will get to the punch line.          Have you all

  13   sat in the room and tried to resolve this in any way, shape,

  14   or form?

  15               MR. BELLINGER:     We have, Your Honor.      So we had a

  16   mediation in May with JAMS that was a full-day session,

  17   which ended up not being successful.

  18               There was a subsequent exchange of settlement

  19   proposals after that that the defendant was not agreeable

  20   to.   So there have been settlement talks.

  21               THE COURT:    And I am just curious.      What are you

  22   looking for?     Do you basically want them to shut down?         Is

  23   that it or --

  24               MR. BELLINGER:     No.   We're not asking them to shut

  25   down or put them out of business.         But we do want some


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 15 of 40 Page ID #:3523
                                                                             15

   1   assurances going forward that the marks are not going to be

   2   used in a way that would be even more likely to cause

   3   confusion.

   4               And there is a real issue with, you know,

   5   particularly the term "Monsters" on a beverage, which is

   6   something, at least in the -- this nonalcoholic space, that

   7   Monster has very strong rights in.

   8               THE COURT:    And so your view is -- or the client's

   9   view is that anyone who creates any kind of beverage, if

  10   they even think about using the word "Monster" in a

  11   beverage, that's a problem for you.         That's infringement,

  12   from your perspective.

  13               MR. BELLINGER:     I mean, I can't answer that in the

  14   abstract because confusion -- at least in terms of a

  15   District Court case is determined as how the marks are

  16   typically used in the marketplace.         So I think you would

  17   have to look at the product, how it's marketed, how it's

  18   positioned.

  19               But I think that in general would be a concern in

  20   this -- or at least this type of beverage.

  21               THE COURT:    Okay.   All right.

  22               Any other points you wish to raise with respect to

  23   the tentative?

  24               MR. BELLINGER:     So with respect to the tentative,

  25   Your Honor, I would focus on page 3, the discussion of the


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 16 of 40 Page ID #:3524
                                                                             16

   1   threshold element.

   2               And so here, we think the undisputed testimony is

   3   that defendants are claiming to use the "Fight Monsters"

   4   mark or slogan, as I think they have sometimes called it, as

   5   part of a general call to arms in terms of their -- you

   6   know, to support their anti-bullying marketing campaign.

   7               And the undisputed evidence is defendants contend

   8   that "Fight Monsters" refers to any sort of Monster in

   9   society.    Some of their marketing materials give examples of

  10   human trafficking, discrimination, sexual harassment.

  11               Mr. Norberg, in the declaration submitted in

  12   support of the defendants' opposition, in paragraph 14

  13   testified, "And I chose the word 'Monsters' as the plural

  14   form of the now Monster because this world is filled with a

  15   vast array of monsters that come in many different shapes

  16   and sizes."

  17               THE COURT:    Yeah, but he also indicates that he

  18   was referring to your client, didn't he?

  19               MR. BELLINGER:     He, at the start, said

  20   Monster Energy may be a type of monster, but defendants have

  21   not contended and do not contend that "Fight Monsters" is

  22   intended to be a specific sole reference to Monster Energy

  23   Company.    That's their view of the world.

  24               And in all of the fair use cases cited by the

  25   parties in which fair use has been found -- for example, the


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 17 of 40 Page ID #:3525
                                                                             17

   1   Cairns vs. Franklin Mint case involving Princess Diana --

   2   fair use was found, but the use by the Franklin Mint of

   3   Princess Diana's name and likeness was a specific reference

   4   to her.    It wasn't a more blanket umbrella reference on what

   5   she fit under.

   6               In the New Kids on the Block case in which fair

   7   use was found, a newspaper was running a telephone poll

   8   asking people what they thought about the band, and that was

   9   found to be fair use.

  10               But the use by the newspaper of New Kids on the

  11   Block was a specific reference to New Kids on the Block. It

  12   was not a more general term.

  13               In the Toyota vs. Tabari case, in which there were

  14   some questions of fair use and the scope of an injunction

  15   against a -- auto broker who was using the Lexus name, the

  16   Court there found that the auto broker, when they said

  17   "Lexus," they were referring to Lexus, they weren't

  18   referring to, you know, an umbrella type of cars.

  19               THE COURT:    But the fact that in this case there

  20   seems to be at least some debate as to whether it's dual use

  21   or single use, doesn't that just in and of itself create a

  22   triable issue?

  23               MR. BELLINGER:     No, it doesn't.     Because for

  24   nominative fair use, the defendant has to be using the

  25   plaintiff's mark to describe the plaintiff's product.            And


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 18 of 40 Page ID #:3526
                                                                             18

   1   in all cases --

   2               THE COURT:    And only the plaintiff's product?

   3               MR. BELLINGER:     Only the plaintiff's product.       In

   4   all of these cases that have found fair use, it has been an

   5   exclusive reference.

   6               I think probably the closest case to our fact

   7   situation is the Warner Bros. case that we cited in our

   8   brief in which the plaintiff was Warner Bros. Studio, the

   9   owner of "The Hobbit" film.

  10               The defendant in that case was about to put out a

  11   mockumentary film called "Age of Hobbits," and the defendant

  12   in that case claimed that "Hobbits" was intended to refer to

  13   the mythical species of creatures in general.

  14               And the Court found that was not nominative fair

  15   use because it was not -- the defendant admitted it was not

  16   intended to be a specific reference to the plaintiff's

  17   Hobbit books or films, it was a more general reference to a

  18   species of creatures.

  19               And that's the position defendants essentially are

  20   taking in this case.      Under their view of the world,

  21   "Fight Monsters" is a general reference to any sort of

  22   monster in society.      Defendants are not claiming it is a

  23   specific reference to Monster Energy Company, and that is

  24   not nominative fair use.

  25               THE COURT:    But isn't there a slight difference,


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 19 of 40 Page ID #:3527
                                                                             19

   1   though, in this case?      Because like the other cases you

   2   refer to are Princess Diana and New Kids on the Block.

   3               There is only one thing that they could be

   4   referring to -- Princess Diana.        There is no -- I guess

   5   there could be another Princess Diana.         New Kids on the

   6   Block, I mean, there is only one use.

   7               You have got this term, "Monster," that -- I don't

   8   know how else to say other than there is a dual use or could

   9   be multiple uses for it.

  10               I guess I come back to the question of does the

  11   case law suggest that it has to be exclusive to one use, or

  12   do we have a unique scenario here where the term "Monster"

  13   has multiple meanings?

  14               MR. BELLINGER:     I think the case law, the three

  15   cases I went through finding fair use, in all those cases it

  16   was specific.

  17               "The Hobbit" case is a good example of broader use

  18   of a term "Hobbits" that was intended to refer, by the

  19   defendants' own admission, to a class of creature rather

  20   than the plaintiff.

  21               I mean, here, Mr. Norberg said that he chose

  22   "Monster," didn't specifically say "Monster Energy" because

  23   he wanted to refer to a broader class of people.

  24               And I think defendants -- I mean, I don't want to

  25   state their case, necessarily -- it seems like they're using


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 20 of 40 Page ID #:3528
                                                                             20

   1   this more to say there is no likelihood of confusion because

   2   of the manner in which the mark is being used by them.

   3               But that doesn't put it in the nominative fair use

   4   box.   This is a narrow defense in which you have to be using

   5   the plaintiff's mark to describe plaintiff's product.            And

   6   it's intended to allow for things like comparative

   7   advertising and things like that, recognizing that sometimes

   8   the only way to refer to plaintiff for comparative purposes

   9   is to use their name.

  10               But that's not what they're trying to do here.

  11   They're trying to use it as a part of a broad call to arms,

  12   as part of a larger mission of -- you know, purported

  13   mission of social justice, by their own admission.           It's not

  14   intended to be a specific description of Monster Energy.

  15               THE COURT:    And I guess to that point, does it

  16   have to relate or does it have to describe your client's

  17   product?    Or can it be a reference to your client in

  18   general?

  19               MR. BELLINGER:     It has to be describing the client

  20   or the product, I mean, basically identifying the plaintiff.

  21   And here that's not what the sole purpose is.           And they have

  22   cited no authority for finding fair use in a case like this.

  23   And, in fact, the cases that they cite, such as New Kids on

  24   the Block, it's very different facts.

  25               THE COURT:    All right.    Well, thank you,


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 21 of 40 Page ID #:3529
                                                                             21

   1   Mr. Bellinger.

   2               Anything else you wanted to address with respect

   3   to the tentative?

   4               MR. BELLINGER:     No, Your Honor.

   5               THE COURT:    All right.

   6               Miss Dwight, what's your response to plaintiff's

   7   arguments, and, obviously, anything that you wish to address

   8   relative to the tentative?

   9               MS. DWIGHT:    Thank you, Your Honor.

  10               To address the nominative fair use defense, we are

  11   in agreement with the Court that that was not the sole

  12   purpose.    There was a lot of purpose to the use of that

  13   phrase.

  14               And the purpose of a nominative fair use defense

  15   is to protect use of a mark in criticism.          That's exactly

  16   what our client has done, especially on his Website, "Drink

  17   Thunder, Fight Monsters."

  18               "Monsters," as he testified in his deposition, as

  19   well as in his declaration in support of the opposition,

  20   started out as referring to plaintiff.         It then became a

  21   bigger mission as a result of that litigation.

  22               And if you look at the Website, which is Exhibit B

  23   of Mr. Norberg's declaration, right below the phrase "Drink

  24   Thunder, Fight Monsters," is the whole story of this epic

  25   battle.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 22 of 40 Page ID #:3530
                                                                             22

   1               So we would disagree that -- you know, I think

   2   it's a very narrow interpretation of how we're using our

   3   mark.

   4               And also I would ask the Court to review

   5   plaintiff's own pleading.       Paragraph 41 of their Complaint

   6   identifies uses by us of their marks on their Website,

   7   media, accounts, point-of-sale manuals.          So there is a

   8   reference directly to Monster, the plaintiff.

   9               Other than that, Your Honor -- and I am going to

  10   apologize that this was not raised in the opposition

  11   papers -- but we do intend to assert a classic fair use

  12   defense.

  13               THE COURT:    You do?

  14               MS. DWIGHT:    Yes.

  15               THE COURT:    Okay.   Now, I think that is news to a

  16   lot of people in this courtroom.        I mean, because I thought

  17   in your papers you indicated otherwise.

  18               MS. DWIGHT:    Yes.   The opposition papers did not

  19   address the classic fair use defense.

  20               THE COURT:    Okay.   And so dare I ask why the

  21   change in position?      And what is the Court to do now that

  22   you have just dropped this, quote/unquote, bombshell?

  23               MS. DWIGHT:    Well, I would ask the Court to

  24   indulge our argument as to why we think it's still a valid

  25   defense.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 23 of 40 Page ID #:3531
                                                                             23

   1               THE COURT:    Well, before we get to that, why

   2   should the Court even entertain the argument at this stage?

   3   We're now at -- the briefings have been filed.           I thought

   4   the papers were -- I am trying to look at the papers now.              I

   5   thought --

   6               MS. DWIGHT:    The Court is correct.      It does not

   7   address the --

   8               THE COURT:    Okay.   So why -- what's the rationale

   9   as to why it wasn't raised, and what authority do I have to

  10   entertain that at this time?

  11               MS. DWIGHT:    Well, the hearing, I guess, is an

  12   opportunity for us to raise issues that we believe are

  13   relevant to support our position that there is a valid claim

  14   of descriptive fair use.

  15               All the evidence shows that it -- at least as far

  16   as the use on the bottles themselves, the reference to

  17   "Monster" is in the descriptive sense.         It is describing bad

  18   actors, not in reference to -- specifically there, on the

  19   bottle, to plaintiff.

  20               And, again, I apologize.       I honestly don't know

  21   why it wasn't raised in the opposition papers.

  22               THE COURT:    Okay.   Now I am going to ask a

  23   question that maybe I will regret asking.

  24               What do you mean you don't understand why?          Were

  25   you not responsible for --


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 24 of 40 Page ID #:3532
                                                                             24

   1               MS. DWIGHT:    We were -- yeah, we only associated

   2   in two weeks ago.      It was after the opposition papers were

   3   filed.

   4               THE COURT:    Oh, wait.    I'm sorry.    Aren't you with

   5   Burkhalter Kessler?

   6               MS. DWIGHT:    Correct, Your Honor.

   7               THE COURT:    So at least Burkhalter Kessler was on

   8   the papers in August 23rd; correct?

   9               MS. DWIGHT:    Right.    We filed the amended -- the

  10   corrected opposition to include a table of contents and

  11   table of authorities, but that was the extent of our

  12   involvement as far as the opposition papers.          The original

  13   opposition papers were filed by co-counsel.

  14               THE COURT:    And is co-counsel not on the case

  15   anymore?

  16               MS. DWIGHT:    No, she's still on the case,

  17   Your Honor.

  18               THE COURT:    Okay.   All right.     It must be Friday.

  19   Okay.

  20               MS. DWIGHT:    Again, I apologize.

  21               And I guess if we -- the argument we would make in

  22   support of our defense of classic fair use is that

  23   plaintiff's interpretation of the law with respect to fair

  24   use we think is too narrow.

  25               And we would respectfully ask the Court to take a


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 25 of 40 Page ID #:3533
                                                                             25

   1   look at the Ninth Circuit case, Fortune Dynamic versus

   2   Victoria's Secret, 618 F.3d 1025, which came out a year

   3   after Cairns vs. Franklin Mint, which was cited by

   4   plaintiff.

   5               But in the Fortune Dynamic case, the Ninth Circuit

   6   said, quote, "Fair use may include use of a term or phrase

   7   in its descriptive sense which, in some instances, will

   8   describe more than just a characteristic of defendants'

   9   goods."

  10               This broader application of the descriptive use

  11   was reiterated in 2017 in the Ninth Circuit case Market

  12   Quest vs. BIC.     So our argument is that it doesn't need to

  13   describe -- specifically describe our product.           It does.   I

  14   think it does, because when you use "Drink Thunder,

  15   Fight Monsters," clearly you are referring to our product.

  16               But it also describes an action that our client

  17   hopes consumers will take, which is fill yourself with our

  18   product, Fight Monsters.

  19               THE COURT:    But can you have classic use -- can

  20   you have fair use and nominative fair use?          I thought it was

  21   one or the other.

  22               MS. DWIGHT:    No, Your Honor.     It depends on the

  23   use.   It depends on how it's being used, and it also is --

  24   this is the problem with having a term that's descriptive

  25   because sometimes it can be referring to the plain meaning


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 26 of 40 Page ID #:3534
                                                                             26

   1   of the term, and sometimes it's referring to the trademark

   2   only.

   3               THE COURT:    Okay.   What else?

   4               MS. DWIGHT:    That is -- that's it, Your Honor.

   5   Thank you.

   6               THE COURT:    All right.

   7               So, Mr. Bellinger, what's your response to this

   8   surprise argument, besides the obvious I shouldn't consider

   9   it?

  10               MR. BELLINGER:     Well, you guessed my first

  11   argument.    It shouldn't be considered.       It's a new argument.

  12               Ms. Dwight pointed out the defendants -- her firm

  13   filed a replacement brief in response to the Court's order

  14   to file a brief with a table of contents and authorities.

  15               In that brief, defendants actually changed the

  16   brief.    They eliminated the introduction.        They added new

  17   cases.    They actually made substantive changes to the brief

  18   that I was surprised about.

  19               But they didn't put anything about classic fair

  20   use.    So this is the first time I am hearing they are now

  21   trying to resurrect that defense.         But --

  22               THE COURT:    Do you agree with her assertion,

  23   Ms. Dwight's assertion, that it could be both?           Can you

  24   pick -- can you do a fair use or nominative fair use or --

  25               MR. BELLINGER:     No.   I think it's one bucket or


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 27 of 40 Page ID #:3535
                                                                             27

   1   the other.

   2               And I note in defending the -- what this new

   3   classic fair use argument, if I heard correctly, counsel

   4   said that on the bottles, "Fight Monsters" is describing bad

   5   actors and it's not a reference to Monster Energy Company,

   6   which I think tanks their nominative fair use defense, which

   7   is the only defense that I think is properly before the

   8   Court.

   9               So I think that view is just further evidence of

  10   why use of "Fight Monsters," under defendants' view, is not

  11   nominative fair use because it's just a further admission

  12   that defendants are not intending it to be a reference to

  13   Monster Energy Company but rather a reference to bad actors

  14   in general.

  15               And if the Court were to entertain this classic

  16   fair use defense, that defense applies when a party is using

  17   a mark to describe the characteristics of their product.

  18   But here, there is no evidence that "Fight Monsters"

  19   describes how their product tastes or any characters or --

  20   qualities or characteristics.

  21               The undisputed evidence is it's being used as part

  22   of a call to arms in connection with defendants'

  23   anti-bullying campaign, and that use on a beverage label is

  24   just simply not classic fair use.

  25               THE COURT:    I am going to jump back to an earlier


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 28 of 40 Page ID #:3536
                                                                             28

   1   point.

   2               There -- isn't there some irony, though, in this

   3   discussion?     Because one might argue that these multiple

   4   meanings goes to the earlier point that's not necessarily

   5   the subject of this motion but the issue of likelihood of

   6   confusion because it has multiple meanings.

   7               I mean, how -- I guess I am really struggling with

   8   how you intend to move forward with this case.           I don't see

   9   how you are going to have any evidence to show likelihood of

  10   confusion in this case.

  11               Again, walk me through it.       I am newer on the

  12   bench.    So I may be completely missing something here, but I

  13   look at this and I think how is this going to play out to a

  14   jury?    And I just don't see how you are going to demonstrate

  15   in any way, shape, or form other than to say -- and perhaps

  16   this is your point -- Monster is important to us.           It's a

  17   strong term.     So, therefore, there is the likelihood that

  18   someone will be confused by it.

  19               MR. BELLINGER:     Yeah.   So, again, I guess I would

  20   come back to, in support of the infringement case, applying

  21   the Sleekcraft factors.

  22               You know, we'll be able to present extensive

  23   evidence of the strength of Monster's family of "Monster"

  24   marks and "Beast"-inclusive marks in connection with

  25   beverages, including the types of beverages at issue here --


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 29 of 40 Page ID #:3537
                                                                             29

   1   nonalcoholic carbonated beverages and the fact that

   2   defendants are, you know -- made the intentional decision to

   3   use a "Beast"-inclusive and "Monster"-inclusive mark on

   4   their labels, including putting them in proximity with

   5   knowledge of Monster's trademark rights.          I mean, we think

   6   the marks are -- Monster has strong marks.          The marks are

   7   similar.    The goods are --

   8               THE COURT:    Again, walk me through why are the

   9   marks similar?     What's similar about the two marks?

  10               MR. BELLINGER:     Sure.

  11               Well, I mean, "Fight Monsters" is similar to

  12   Monster's family of "Monster" marks.         They just basically

  13   put an "S" on the end of "Monster."

  14               We cited, for example --

  15               THE COURT:    Go ahead.

  16               MR. BELLINGER:     -- a case in the -- this is a

  17   different issue because we're going back to the fair use

  18   land, but we cited a case in our brief regarding

  19   Virginia Tech, who owns the mark "Hokie" or "Hokies," and

  20   there is a real estate firm who -- I'm sorry.           "Hokie" for

  21   Virginia Tech and a real estate firm opened up in town that

  22   was like "Hokies Real Estate" and were trying to make a big

  23   deal of the fact that --

  24               THE COURT:    But isn't that different than

  25   "Monster" and "Fight Monsters"?


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 30 of 40 Page ID #:3538
                                                                             30

   1               MR. BELLINGER:     Monster often uses its "Monster"

   2   mark with other terms, such as --

   3               THE COURT:    But I guess that's my point.

   4               Is the mark "Monster" or is the mark "Monster" --

   5   fill in the blanks however the client wants to -- whatever

   6   the client wants to put in?

   7               MR. BELLINGER:     So -- I'm sorry.

   8               THE COURT:    Go ahead.

   9               MR. BELLINGER:     So Monster claims at least common

  10   law rights in the term "Monster" by itself and is often

  11   referred to as "Monster."       Consumers might refer to the

  12   product as "I am going to buy a Monster."          We have a U.S.

  13   trademark registration for that.

  14               But they do have registrations for marks like

  15   "Monster Energy" --

  16               THE COURT:    "Unleash the Beast" --

  17               MR. BELLINGER:     -- "Punch Monster," "Monster

  18   Assault."    So the fact that defendants have taken the word

  19   "Monster" and just appended another word to it --

  20               THE COURT:    But do you have a registration for

  21   "Fight Monsters"?

  22               MR. BELLINGER:     No, we don't have a registration

  23   for "Fight Monsters."

  24               THE COURT:    And isn't that significant, I mean?

  25   Because -- look.      The defendant has taken the term and made


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 31 of 40 Page ID #:3539
                                                                             31

   1   it plural and added another term to it.          To me, that has

   2   multiple meanings.      It's either, as I think you propose,

   3   "Fight Monsters" as one term or separated out, fight

   4   multiple monsters.

   5               I just have trouble understanding how your client

   6   believes it has a lockdown, if you will, on anything and

   7   everything related to "Monster."

   8               MR. BELLINGER:     Well, consumers with respect to

   9   beverages like this one -- you can go into a grocery store,

  10   a convenience store, look in the case, and there is a whole

  11   line of different types of Monster energy drinks that may be

  12   called different things.       One may be "Monster Energy."

  13   Monster has a line "Monster Rehab," "Monster Ultra."

  14               So consumers are used to seeing, associated with

  15   Monster Energy, the word "Monster," you know, that includes

  16   another word appended to it.

  17               And so simply because defendants have chosen

  18   "Fight Monsters," people are not going to think, "Oh, well,

  19   that has the word 'Fight' before 'Monster' so that must not

  20   be a Monster Energy product."        No.   They're used to the fact

  21   that Monster has come out with a line of drinks that have

  22   multiple variations of its "Monster" marks.          And --

  23               THE COURT:    And you really believe that someone is

  24   going to see these two drinks, grab this Thunder Beast, and

  25   think, "Oh, I have just purchased a new Monster drink"?


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 32 of 40 Page ID #:3540
                                                                             32

   1               MR. BELLINGER:     I think, yeah, and particularly

   2   because they're coupling it with this, you know, "Beast"

   3   mark on the label, "Thunder Beast."

   4               THE COURT:    Despite the fact that the packaging is

   5   completely different.      I mean, there is not even a

   6   correlation.     Like I said, I am familiar enough, I think,

   7   with the Monster drinks, your client's drinks.

   8               This root beer bottle looks nothing like it.

   9   There is no claw.      There is no neon.     There is --

  10   Thunder Beast has a buffalo on it.         Again, I just -- I just

  11   keep coming back don't -- I mean, a consumer is going to

  12   look and know that these two things are different, aren't

  13   they?

  14               MR. BELLINGER:     We disagree.

  15               We think that Monster has very strong rights in

  16   both of these families of marks, and the fact that this

  17   defendant has purposefully chose to put them together on a

  18   beverage container is likely to cause confusion.

  19               THE COURT:    Okay.   All right.     Yeah, I have strong

  20   feelings about this.      I really do.     I just -- I don't know

  21   why we are here, to be honest with you, I mean, and -- other

  22   than you are just trying to crush this root beer company out

  23   of business.

  24               Because -- I mean, what do you want?         Do you want

  25   them to take away the phrase "Fight Monsters" so they just


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 33 of 40 Page ID #:3541
                                                                             33

   1   have "Thunder Beast, "Drink Thunder," and then you would be

   2   fine with it?

   3               MR. BELLINGER:     That might be okay.

   4               THE COURT:    Okay.   Is there -- and I am curious.

   5   I mean, if we go to trial, you are going to be seeking some

   6   sort of damages?

   7               MR. BELLINGER:     There is a damages claim in the

   8   case, but we haven't made final decisions as to what, if

   9   any, those would be.

  10               I agree.    This is not really about the damages --

  11   monetary damages at the end of the day.          It's really

  12   about -- we're protecting the brand as a mark owner.

  13               I mean, once one person starts coming in with

  14   "Monster" on a label for a beverage, then, as you mentioned

  15   before, brand owners have a right and obligation to protect

  16   the brand or they risk losing it or diminishing it.

  17               THE COURT:    All right.

  18               Let me ask Ms. Dwight -- I'm sorry.

  19               Do you have anything else, Mr. Bellinger?

  20               MR. BELLINGER:     No, Your Honor.

  21               THE COURT:    Okay.

  22               Ms. Dwight, I am just curious.

  23               I mean, from your perspective, has there been any

  24   real -- is there any way of resolving the case?           It just

  25   seems to me the only people that are going to make money out


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 34 of 40 Page ID #:3542
                                                                             34

   1   of this are the attorneys sitting in front of me.           I mean,

   2   I'm just being honest.       This just seems like an incredible

   3   exercise of resources.

   4               I am trying to be respectful of both sides.          I get

   5   that Monster feels that it's got to protect its brand.            It's

   6   just hard, when you see these photographs, to really think

   7   that someone is going to think, "Oh, Monster has come out

   8   with root beer now and they've detoured into having

   9   buffaloes on their brand."       I mean, it's hard for me to

  10   comprehend that.

  11               But having said all that, from your perspective,

  12   is there any meaningful possibility of resolving the case,

  13   or is this just two folks that just feel strongly about

  14   their opinions and they need eight folks to make the

  15   decision?

  16               MS. DWIGHT:    I think there was an opportunity in

  17   the beginning.     As Your Honor knows, this started back in

  18   2016, maybe 2017, several years ago, under the TTAB.            And

  19   then just as TTAB was about to issue their ruling, we got

  20   the lawsuit.

  21               I was not involved in any of the mediation or any

  22   informal discussion.      My understanding is that -- I think

  23   there was a point where the client -- our client could have

  24   sat down and reasonably come to some sort of resolution, but

  25   my sense is that it's past that point.         He has spent the


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 35 of 40 Page ID #:3543
                                                                             35

   1   last several years of his life fighting this.           He's one guy

   2   who owns the company.

   3               The other issue is that he obtained his

   4   registration.     They moved to cancel it.       They didn't oppose

   5   it when it went up for registration.         So he's fighting to

   6   protect that, and I think he's, again, being bullied, to be

   7   honest.

   8               THE COURT:    Okay.   All right.     Well, just be ready

   9   to try the case in January.       I mean, we're -- I am going to

  10   do my best not to move the date.        This case has been going

  11   on far too long.

  12               If you all want to spend your -- the clients want

  13   to spend their money that way, then I am here all day.            So

  14   we'll try the case.

  15               So Mr. Bellinger.

  16               MR. BELLINGER:     If I may just add one more thing

  17   on the settlement.

  18               So we did have a mediation in May, and I thought

  19   we had made good progress at the mediation.          But,

  20   essentially, at the end of the day, it looked like the

  21   defendant just wasn't amenable to reaching agreement.

  22               Following that, we had to file a mediation

  23   statement with the Court, which we did.          At that point,

  24   there was some further dialogue, and we received some

  25   comments from defense counsel of things that their client


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 36 of 40 Page ID #:3544
                                                                             36

   1   was looking for.

   2               So we sent a revised settlement agreement to them

   3   at the end of June and said, "Happy to talk," essentially,

   4   and then got a comment back in July that just basically

   5   said, "Not good enough," with no specific counter-proposal.

   6               So I just want to make clear that we're happy to

   7   continue discussions.      We never closed the door on those

   8   discussions.     We tried to keep discussions continuing

   9   following the mediation.

  10               THE COURT:    Right.    The frustration is that,

  11   again, I don't know what you want, ultimately.

  12               I mean, if you are telling them to shut down, I

  13   guess that's a nonstarter.       If you're saying you want the

  14   words "Fight Monsters" removed or -- I will pose this to

  15   you:   If "Fight Monsters" was in a different part of the

  16   label, would that appease the client?

  17               MR. BELLINGER:     I think -- I just don't have a

  18   client rep here.      I think if they removed -- just agree to

  19   remove "Fight Monsters," that would be a big step forward to

  20   reaching an agreement, and I am sure we could then reach an

  21   agreement of ways they could continue to use their

  22   "Thunder Beast" brand on these products.

  23               But it's really -- you know, this lawsuit didn't

  24   start until they put "Fight Monsters" on the bottle.            That's

  25   when the suit got filed.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 37 of 40 Page ID #:3545
                                                                             37

   1               THE COURT:    Well, right.     But let's be clear.

   2   It's not like you got a halo over your head, like, "Oh, we

   3   just weren't" -- there was a protracted battle going on.

   4               And look.    Wrong or right.     The defendant said,

   5   "Okay, if you want to play this way, I am going to use a pun

   6   on words and ratchet it up a little bit."          So it's not --

   7               Well, let me just -- Miss Dwight, if your client

   8   takes "Fight Monsters" off the label, is that a nonstarter?

   9               MS. DWIGHT:    I honestly don't know, Your Honor.         I

  10   am happy to relay that to --

  11               THE COURT:    And I guess related to all this, does

  12   it make sense for you all to sit in a room with a magistrate

  13   judge?

  14               Again, I am here all day.       I love trying cases.

  15   So I am happy to do it.

  16               But it's like -- I am looking at this and I'm

  17   thinking -- okay.      You got this guy in Boston.       He's solo --

  18   I want to call him solo practitioner but a solo businessman

  19   who's got this root beer that I'm not even sure how much he

  20   makes a year off this thing, and you've got this massive

  21   company that's like, "Okay, we don't want anyone using the

  22   word 'Monster,'" and it just seems to me there has got to be

  23   a way to resolve this so that he can keep making his soda

  24   and you don't have to worry about, I guess, some root beer

  25   company taking over the market share of energy drinks.


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 38 of 40 Page ID #:3546
                                                                             38

   1               But if I'm off base, we'll just keep the trial

   2   date of January 28th set.       But it seems to me that cooler

   3   minds should be able to prevail and say, "Okay.           What can we

   4   do to sort of make everyone happy so we can all move on with

   5   our respective lives?"

   6               So a long-winded way of saying does it make

   7   sense -- and, again, if you are not interested in it, I'm

   8   not going to take offense to it.        I don't want to waste any

   9   more of anyone's time.

  10               Does it make sense to refer it out to the

  11   magistrate who is assigned to this case or another one of

  12   the magistrate judges in this Court to have you talk and see

  13   if you can settle the case?

  14               MR. BELLINGER:     From plaintiff's perspective, as I

  15   mentioned before, we're certainly open to further settlement

  16   discussions, and we attempted to have further discussions

  17   after the mediation.

  18               THE COURT:    Ms. Dwight?

  19               MS. DWIGHT:    Yeah, I mean, I think it's always

  20   opportune to try to resolve it without trial.

  21               THE COURT:    All right.    Well, what I am going to

  22   do is I am going to talk to some of my colleagues and see if

  23   there -- I am going to try to identify a magistrate judge.

  24               I will issue a minute order in the next week or so

  25   saying -- or my courtroom deputy will reach out to you and


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 39 of 40 Page ID #:3547
                                                                             39

   1   say, "Contact this magistrate judge and set up a settlement

   2   conference."

   3               I will ask you to try to do it in the next 60 days

   4   to see if we can make any headway in this case.           All right?

   5               So in the meantime, the Court -- this item will

   6   remain under submission until the Court issues its final

   7   order.    Thank you all for coming in, and have a good

   8   weekend.    All right?    Thank you.

   9               MS. DWIGHT:    Thank you, Your Honor.

  10               THE CLERK:    All rise.    This Court is in recess.

  11         (Proceedings concluded at 9:54 A.M.)

  12                                   --oOo--

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 5:18-cv-01367-AB-AS Document 77 Filed 07/28/22 Page 40 of 40 Page ID #:3548
                                                                             40

   1                                CERTIFICATE

   2

   3           I hereby certify that pursuant to Section 753,

   4   Title 28, United States Code, the foregoing is a true and

   5   correct transcript of the stenographically reported

   6   proceedings held in the above-entitled matter and that the

   7   transcript page format is in conformance with the

   8   regulations of the Judicial Conference of the United States.

   9

  10   Date:     July 28, 2022.

  11

  12

  13

  14                              /S/ CHIA MEI JUI _______

  15                           Chia Mei Jui, CSR No. 3287

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25


                     CHIA MEI JUI, CSR 3287, CRR, FCRR
       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
